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                 EXHIBIT B-158
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ORIGINAL                                                                             FILED IN OFFICE
                       IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA                                       M 16 2023{p
                                                                                                 V
                                                 )                                  DEPUTY CLER SUPERIOR COURT
                                                                                         FULTON COUNTY, GA
                                                 )
  IN RE: SPECIAL PURPOSE                         )      Case No.: 2022-EX-000024
  GRAND JURY                                     )
                                                 )
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                                                 )


   REQUEST FOR TIME TO FILE A REPLY TO THE RESPONSES TO PRESIDENT
    DONALD J. TRUMP'S MOTION TO QUASH THE SPECIAL PURPOSE GRAND
     JURY'S REPORT, TO PRECLUDE THE USE OF ANY EVIDENCE DERIVED
  THEREFROM, AND TO RECUSE THE FULTON COUNTY DISTRICT ATTORNEY'S
                               OFFICE


         Comes now, President Donald J. Trump, by and through undersigned counsel and files

  this request to file a Reply to the Responses filed by both the State as well as the Media

  Intervenors. The Motion to Quash was filed on March 20, 2023, and this Court allowed time for

  the State to file a Response that was initially due on May 1, 2023, and then was extended to May

  15, 2023, after a Motion to Join was filed by another movant. On May 15, 2023, the State timely

  filed its Response and an additional Response was filed on the same date by the Media

  Intervenors. Based on the above and the complexity of the issues at bar, undersigned counsel

  respectfully requests that this Court allow the movant time to file a Reply to both Responses. The

  requested amount of time to file this Reply is twenty-one days.
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     Case 1:23-cv-03721-SCJ Document 1-170 Filed 08/21/23 Page 4 of 4




                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

                                          )
IN RE: SPECIAL PURPOSE                    )   CASE NO. 2022-EX-000024
GRANDJURY                                 )
                                          )
                                          )
                                          )

                                CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing: REQUEST FOR TIME TO FILE A
REPLY TO THE RESPONSES TO PRESIDENT DONALD J. TRUMP'S MOTION TO
QUASH THE SPECIAL PURPOSE GRAND JURY'S REPORT, TO PRECLUDE THE
USE OF ANY EVIDENCE DERIVED THEREFROM, AND TO RECUSE THE FOLTON
COUNTY DISTRICT ATTORNEY'S OFFICE

was served on:

Fulton County District Attorney Fani T. Willis
Chief Senior Assistant District Attorney F. McDonald Wakeford
Fulton County District Attorney's Office

By E-mail and Hand Delivery

Kieran J. Shanahan
Shanahan Law Group, PLLC

By E-mail

Thomas M. Clyde
Lesli N. Gaither
Kurtis G. Anderson
Kilpatrick Townsend & Stockton LLP

By E-mail


This 16th day of May, 2023.

The Findling Law Firm
One Securities Centre
3490 Piedmont Road, Suite 600                    Drew mdling
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